     Case: 1:14-cv-03849 Document #: 89 Filed: 06/12/17 Page 1 of 2 PageID #:229




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

DOMINIQUE FRANKLIN,SR. Individually,
and as Administrator of the Estate of
DOMINIQUE FRANKLIN,JR. deceased,
                                                          Case No. 14 CV 03849
             Plaintiff(s),
                                                          Judge Jorge L. Alonso
             v.

The CITY OF CHICAGO,a Municipal
Corporation, OFFICERS JUAN YANEZ,
COSENTINO, AND JOHN DOE, '

            Defendant(s).


              STIPULATION TO DISMISS WITH LEAVE TO REINSTATE
        IT IS HEREBY STIPULATED AND AGREED by and between the parties hereto, by
their respective attorneys of record, that this matter has been settled pursuant to the Release and
Settlement Agreement executed by the parties and, therefore, this cause should be dismissed with
leave to reinstate solely in the event that the Chicago City Council rejects the Release and
Settlement Agreement filed herewith, and with each party bearing its own costs and attorney's
fees in accordance with the terms of the Release and Settlement Agreement and the Final Agreed
Order of Dismissal.
                                                  Respectfully submitted,
                                                  CITY OF CHICAGO a Municipal Corporation

                                                  EDWARD N. SISKEL
 Standish E. Willis                               Corporation Counsel
 Attorney for Plaintiff,                          Attorne   r defendant C' of Chicago
Dominique Franklin, Sr. as Administrator
of the Estate of Dominique Franklin, Jr.                   I
                                                  BY:
Law Office of Standish E. Willis                  Thomas Platt
29 East Madison Street, Suite 1802                Deputy Corporation Counsel
Chicago, Illinois 60602                           30 North LaSalle Street, Suite 900
(312) 750-1950                                    Chicago, Illinois 606D2
Attorney No. '~`3 D (e (~                         (312) 744-4833
FEIN: ~ I —~ ~'l'7 ~ 2 G t~,                      Attorney No. 6181260
DATE: ~'L!~              ~„ a                     DATE: ~2    ~     / ~ ~r ~ ~


                                            Page 1 of 2
Case: 1:14-cv-03849 Document #: 89 Filed: 06/12/17 Page 2 of 2 PageID #:230




                                                   1

                                        ana O'Malley, enior C unsel
                                      Attorney for Defendants,
                                      Juan Yanez and Michael Cosentino
                                      30 North LaSalle, Suite 900
                                      Chicago, Illinois 60602
                                      (312)744-3982
                                      Attorney N .6280861
                                      DATE: r  J /




                                Page 2 of 2
